 

case 1 :07-¢\/-06586 DOCUDPWOJ 0¥§51@2¢?4/20.'1'43§§@3\ QJr-\'P¢'-I-JH
`S;'I_L\"_LS H.V]O¢K SE]‘EIIHSSE]C| l.\:"[-I.]. :\\O'I':IE{ XOEI EIHL HIJHI-I.') ‘E[S\"f) ']\-"NII'\ID:IJ \:-' Sl Sl'H_L ;II

 

-Ox |:|SL\ z,,\;lNuOl.n-’ Wlm am Sv inv HOA TIL-\\ “mzil S';LH;WHH EIS\-";) SIHL 31

 

 

 

 

|:ION -SE{A gave WIHL S=mnon SIHL 40 HJHWHW v _"101\ Emv
-0-.\' |:| SELA a:-lsv;) SLHL _.\'-1 135:0'10:) 1‘¢;)01 Sv E).\;u;)v JO,K ';mv
Ox |:|SJA ' mgm SlHL NI 1515£103 oven Sv 0_\'113‘¢' _10,& 3m
LQEQ-UQ (zl s) §3103'£9

3301-\'0_\' EIXOH¢I;~HHL IS;\'OI_l_;)nH_l_W xi § 1-\';1_11 ;lzls) H;lEn-x*n_\' 01

 

 

50909 "lI `0593?113
dIZ. E{.L\"l,S .-K_I_D

 

00!_[ ~'=\HHS "'15 )119[3 \ 0z
SSHHGCW 1333 15

 

3100_}_,0 ?5) q:)sl;H ‘luneg ‘umu_goH ‘uemqgag
I'\'_HI;I

 

HMUSH 'v wm »-“°`
(,{[pzaguo,uaals pa[g 5_1 u.uo_; soue,uzadde 01{]_4; almeuj`)`!s :)!Llon:>a[:x ;)S_q) ;[H_’]_L\~.'_\;Q]S

 

 

ueurgsH 'V :{Je].\'.
{1ng1d 10 ;d-\'_l_) _q[\'\-'_\'

 

UElOG llB.[Cqu(] plug UBIOC[ [BBqU!IF\_|

rHOJ AEINHOLLV Sv G;LNDISHHCLNH ;[Hl war cram AA;[>HH 81 HJNVWHJCW =_\W'
`JUI "SJ\.B_-\\.IEV UBI_]_J!\.*'

'1'\

ue[o(] qe.roq;)(] pure 111210(] [aeq:)q!\l
98§9 3 LU ilQQWnN 9593 }0 .IQJJ,BW am 111

 

'i’l"€$§ ng“@llll Zl‘€$ SQI“H IHJO`I '<Cl
.IO} papl.-\Old 513 a.);.\ 3er md weddle 01 meal penum§ sq 10 leq 12101105 Sillno;) Syq150 Bugpums
p003 ug laqluolu 9 ;)q laqqa lsnlu £aulomz ma 111103 S;L{J 010_;0£[ JE;)dde 01 10[)10 ul :§[l@l\;

I'\IHO.:I fE[;) NVHVE{J¢IV AEL\`.HOJ_..LV
SIONIT`[I ;IO .].DIH.LSIC[ N`HE[HJ.HON ElHl. HO:I l.Hl`lO.') .L:)IH.LSI(I 'S`.]

 

